             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE




UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      No. 2:02-CR-23
                                              )
JOSALYN M. DUCKWORTH                          )



                          MEMORANDUM AND ORDER



             This criminal case is before the court on the defendant’s motion for

resentencing pursuant to the retroactive amendment to the crack sentencing

guidelines [doc. 152] The government has responded [doc. 155], and defers to

the court’s discretion as to whether a reduction in the defendant’s sentence would

be appropriate. The court also has received a modified presentence report from

the United States Probation Office.

             The defendant was sentenced on February 15, 2005, to 151 months

in prison for conspiracy to distribute and to possess with the intent to distribute

fifty grams or more of crack cocaine. This sentence was based on a guideline

range of 151 to 188 months (base offense level 31 and a criminal history category

IV), which later was reduced to 120 months based on the government’s Rule 35

motion for a downward departure due to substantial assistance. According to the




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Bureau of Prisons, the defendant is scheduled for release on February 13, 2012.

            Under the retroactive amendment to the crack guidelines, the

defendant’s new guideline range is 121 to 151 months (base offense level 29 and

a criminal history category IV). With a comparable departure (20%), the

defendant’s sentence would be 96 months.

            Neither the government nor the probation office have advised the

court of any reasons not to grant the defendant’s motion. Therefore, it is hereby

ORDERED that the defendant’s motion for a reduction in her sentence based on

the retroactive amendment to the crack guidelines is GRANTED, and the

defendant’s sentence is reduced to 96 months. If this sentence is less than the

amount of time the defendant has already served, the sentence is reduced to a

“time served” sentence. This Order shall take effect ten (10) days (day-for-day)

from its entry in order to give the Bureau of Prisons time to process the release of

the defendant. Except as provided above, all provisions of the judgment dated

February 22, 2005, shall remain in effect.


                                             ENTER:



                                                    s/ Leon Jordan
                                             United States District Judge




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